Case 1:22-ap-01072               Doc 10       Filed 10/19/22 Entered 10/20/22 08:56:52                              Desc Main
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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: October 19, 2022



                                UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF OHIO
                                        WESTERN DIVISION

    In re:                                                     :          Chapter 11
                                                               :
         HOPEDALE MINING LLC, et al., 1                        :          Case No. 20-12043
                                                               :          (Jointly Administered)
             Debtor.                                           :
                                                               :          Honorable Guy R. Humphrey
    Liquidating Trustee of the Hopedale                        :
    Creditors Trust of Hopedale Mining, LLC,                   :
                                                               :
             Plaintiff,                                        :
                                                               :          Adv. No. 22-1072
    v.                                                         :
                                                               :
    Weston Energy, LLC,                                        :
                                                               :
             Defendant.                                        :

                     ORDER SETTING PRETRIAL CONFERENCE BY PHONE
                              IN ADVERSARY PROCEEDING




1
  The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in parentheses):
Rhino GP LLC (8619), Rhino Resource Partners LP (7517), Rhino Energy LLC (6320), Rhino Trucking LLC (8773), Rhino
Exploration LLC (8863), Triad Roof Support Systems LLC (1183), Springdale Land LLC (9816), McClane Canyon Mining LLC
(3783), Rhino Northern Holdings LLC (1858), CAM-Ohio Real Estate LLC (1859), CAM-Colorado LLC (4269), Taylorville
Mining LLC (5106), CAM Coal Trading LLC (4143), Castle Valley Mining LLC (9495), Jewell Valley Mining LLC (0270), Rhino
Services LLC (3356), Rhino Oilfield Services LLC (8938), Rhino Technologies LLC (0994), CAM Mining LLC (2498), Rhino
Coalfield Services LLC (3924), Hopedale Mining LLC (9060), CAM-Kentucky Real Estate LLC (9089), CAM-BB LLC (9097),
Leesville Land LLC (7794), CAM Aircraft LLC (5467), Pennyrile Energy LLC (6095), Rhino Eastern LLC (1457), Rockhouse
Land LLC (7702).
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       The parties having filed a Joint Preliminary Pretrial Statement (doc. 8) in accordance with
the court’s prior order (doc. 6), IT IS ORDERED that a pretrial conference pursuant to Local
Bankruptcy Rule 7016 shall be held on November 16, 2022 at 10:30 a.m. (Eastern Time). The
court will utilize CourtSolutions for conducting the pretrial conference by phone. See
Complex Chapter 11 Procedures – Telephonic Hearings in Complex Chapter 11 Cases on Judge
Humphrey’s webpage for information regarding registering with CourtSolutions prior to
the pretrial conference: https://www.ohsb.uscourts.gov/judge-humphrey-complex-chapter-
11-procedures.

      This pretrial conference will be held in conjunction with the previously scheduled
omnibus hearing on all pending estate case matters.

       At the time of this pretrial conference, the court will review and clarify with counsel
those claims and defenses, including affirmative defenses, counsel intend to pursue.

       Counsel for the Plaintiff and counsel for the Defendant shall participate in the pretrial
conference scheduled above.

       IT IS SO ORDERED.

Copies to:

Counsel for the Plaintiff
Counsel for the Defendant




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